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 3
   Attorney for Daniel Stonebarger
 4
                                   UNITED STATES DISTRICT COURT
 5
                                       DISTRICT OF COLORADO
 6

 7
     UNITED STATES OF AMERICA,                         ) NO.: 1:21-cr-00392-RM-001
 8                                                     )
             Plaintiff,                                ) REQUEST AND [PROPOSED] ORDER TO
 9                                                     ) APPEAR VIA VIDEO (VTS)
        v.                                             )
10                                                     )
     DANIEL STONEBARGER                                )
11                                                     )
             Defendant.                                )
12                                                     )

13

14
                                               PROPOSED ORDER
15
             Based upon the representations of counsel and for good cause shown, the Court grants the
16
     defense request to appear by video on January 27, 2022:
17
             As to
18
             ____ Daniel Perlman, Attorney
19
             ____ Daniel Stonebarger, Defendant
20

21
             Therefore, and with the consent of the parties,
22
             IT IS SO ORDERED.
23

24

25
     DATED:___________________                            _____________________________________
26                                                        HONORABLE RAYMOND P. MOORE
27                                                        United States District Judge

28
